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                   IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF MARYLAND
                           BALTIMORE DIVISION

AMERICAN ASSOCIATION OF
COLLEGES FOR TEACHER
EDUCATION, et al.,

               Plaintiffs,
     v.                                 Civil Action No. 1:25-cv-00702-JRR

LINDA MCMAHON,
AS SECRETARY OF EDUCATION, et al.,

               Defendants.


                 PLAINTIFFS’ RESPONSE IN OPPOSITION TO
          DEFENDANTS’ EMERGENCY MOTION FOR RECONSIDERATION
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I.     INTRODUCTION

       This Court should deny the Defendants’ motion for reconsideration. Apart from the

inequitable manner in which the Government has pursued this relief, its arguments about subject

matter jurisdiction lack merit and do not warrant reconsideration of this Court’s reasoned Order.

       The error of the Government’s argument is demonstrated most palpably in its proposed

alternative. The unavoidable implication is that instead of seeking equitable relief here, affected

Grant Recipients should file individual Tucker Act claims in the Court of Federal Claims for

retrospective relief every time the Department fails to reimburse them for allowable expenses

(never mind that the Government argued previously that venue was only proper in this case in the

multiple districts where each individual affected grant was terminated). It is obvious that the

Government’s construct exacerbates, rather than remedies, the irreparable harm that it and the

Court have already agreed will arise without equitable relief. The Government also misconstrues

Plaintiffs’ claims as seeking money damages, when Plaintiffs in fact seek equitable relief to enjoin

the Department of Education’s agency-wide policy of indiscriminate and unlawful SEED, TQP,

and TSL grant termination. This Court should deny Government’s motion and retain jurisdiction.

II.    ARGUMENT

       A.      Considering the Government’s New Arguments on an Emergency Basis and
               in the Posture of Reconsideration would be Inequitable and Incentivize
               “Emergencies” of a Party’s own Creation.

       Plaintiffs filed their Complaint and Motion for a Temporary Restraining Order/Preliminary

Injunction on March 3, 2025 and served the Government by email that same day. (ECF Nos. 1, 5);

Declaration of Joshua W. B. Richards, Exhibit A. Through a stipulated briefing schedule the

Government was provided eight days after Plaintiffs’ filings, until March 11th, to file a response

in opposition to Plaintiffs’ motion. (ECF No. 24). The Government made neither of the arguments

raised in the instant Motion for Reconsideration in their briefs, at the hearing on March 13th, or at


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any time before Defendants’ 7:53 P.M. motion on March 18th, which they have asked the Court

to decide within twenty-four hours.

       The result is that complex and novel issues of law have been delayed and arguments first

raised by the Government now fifteen days after Plaintiffs’ filings must be addressed by Plaintiffs

in little more than fifteen hours. The Government explains the need for such emergency relief by

relying essentially on a balancing of the equities argument – that the ordered relief would cause

harm to the Government – that this Court has already rejected, concluding instead, and correctly,

that the continuing and catastrophic harm to Plaintiffs’ members is irreparable and outweighs the

harm to the Department of an injunction. (ECF No. 32 at 43-45). This Court need not reevaluate

these considerations on reconsideration when there has been no change in the purported harm to

Defendants from the Court’s initial consideration.

       While the Government may be correct that arguments about subject matter jurisdiction

cannot be waived, the manner in which they are raised nevertheless bears consideration, lest courts

create incentives for argument by ambush. The Government’s other argument about agency

discretion enjoys no such immunity from waiver and should be rejected outright.

       B.      The Tucker Act Does Not Divest this Court of Jurisdiction.

       The Government argues erroneously that the Tucker Act vests the Court of Federal Claims

with exclusive jurisdiction over this case. (ECF No. 36-1 at 4). In pressing this mistaken argument,

the Government fails to contend with two key decisions to have considered the Tucker Act recently

and in precisely this context: California v. United States Department of Education (“California”),

a case that is virtually identical to this one and which the parties both extensively cited in their

preliminary injunction briefs, and Massachusetts v. National Institutes of Health (“NIH”), another

case with a detailed analysis of the Tucker Act in the context of the Administrative Procedures Act




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and broad-based agency grant modifications. See Civ. No. 1:25-cv-10548-MJJ, 2025 WL 760825

(D. Mass. Mar. 10, 2025); No. 25-cv-10338, 2025 WL 702163 (D. Mass. Mar. 5, 2025).

        District courts have jurisdiction over “all civil actions arising under the Constitution, laws,

or treaties of the United States.” 28 U.S.C. § 1331. This case—an action under the Administrative

Procedure Act alleging violations of the federal Constitution, laws, and regulations—falls squarely

within that statute. The Tucker Act1 does not eliminate that jurisdiction. Plaintiffs allege illegal

agency action, not breach of contract, and those claims belong in Article III courts.

        The Tucker Act’s implied divestiture applies only when a plaintiff’s claim is “essentially a

contract dispute,” Am. Sci. & Eng’g, Inc. v. Califano, 571 F.2d 58, 61 (1st Cir. 1978), and is “at

its essence a contract claim,” Megapulse, Inc. v. Lewis, 672 F.2d 959, 967 (D.C. Cir. 1982). That

implied exception is narrow; courts routinely reject the “‘broad’ notion ‘that any case requiring

some reference to or incorporation of a contract is necessarily on the contract and therefore directly

within the Tucker Act.’” Crowley Gov’t Servs., Inc. v. GSA, 38 F.4th 1099, 1107 (D.C. Cir. 2022)

(quoting Megapulse, 672 F.2d at 967); see Fairholme Funds, Inc. v. United States, 26 F.4th 1274,

1298 (Fed. Cir. 2022); Atterbury v. U.S. Marshals Serv., 805 F.3d 398, 407-08 (2d Cir. 2015).




1
  The Tucker Act vests jurisdiction in the United States Court of Federal Claims with respect to “any claim
against the United States founded either upon the Constitution, or any Act of Congress or any regulation of
an executive department, or upon any express or implied contract with the United States, or for liquidated
or unliquidated damages in cases not sounding in tort.” 28 U.S.C. § 1491(a)(1). The Act: (1) “confers
jurisdiction upon the Court of Federal Claims over the specified categories of actions brought against the
United States,” and (2) “waives the Government’s sovereign immunity for those actions.” Fisher v. United
States, 402 F.3d 1167, 1172 (Fed. Cir. 2005). Generally, claims asserted in the Court of Federal Claims
“must be for monetary relief; [they] cannot be for equitable relief, except in very limited circumstances[.]”
Gonzales & Gonzales Bonds & Ins. Agency, Inc. v. Dep’t of Homeland Sec., 490 F.3d 940, 943 (Fed. Cir.
2007). Importantly, and for that reason, claims filed in the Court of Federal Claims seek only retrospective
relief. See Kanemoto v. Reno, 41 F.3d 641, 644-45 (Fed. Cir. 1994) (“The remedies available in [the Court
of Federal Claims] extend only to those affording monetary relief; the court cannot entertain claims for
injunctive relief or specific performance, except in narrowly defined, statutorily provided
circumstances . . . .”).



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        A broader approach would improperly “deny a court jurisdiction to consider a claim that

is validly based on grounds other than a contractual relationship with the government.” Megapulse,

672 F.2d at 967-68. And the existence of a contract in the background does not insulate the

Government from challenges to illegal or unconstitutional agency action. See, e.g., Crowley, 38

F.4th at 1102 (holding that APA claim challenging agency’s authority belonged in district court

because plaintiff “d[id] not seek to enforce or recover on [a] contract” and did not “seek monetary

relief”); see also Normandy Apartments, Ltd. v. HUD, 554 F.3d 1290, 1300 (10th Cir. 2009).2

        In assessing whether the Tucker Act impliedly precludes jurisdiction, courts consider “both

. . . the source of the rights upon which the plaintiff bases its claims, and . . . the type of relief

sought (or appropriate).” Megapulse, 672 F.2d at 968. Both factors favor this Court’s jurisdiction.

        First, Plaintiffs’ claims are rooted in the Constitution, federal statutes, and federal

regulations. They claim the Department’s actions violate the Fifth Amendment to the United States

Constitution and statutes and regulations governing various educational grants. (ECF No. 1 at 36-

38). None of Plaintiffs’ claims are founded on the breach of the terms of any contract; they are

instead based on the misuse of regulations that apply to every federal agency as modified by an

agency-specific statute. The “source of the rights,” Megapulse, 672 F.2d at 968, is regulatory and

statutory, not contractual. Plaintiffs’ challenge is to broad agency overreach—the heart of the

APA. See Bowen v. Massachusetts, 487 U.S. 879, 904-05 (1988). This conclusion would be true

even if Plaintiffs were challenging only a single grant termination, but is even more evident here,

where the challenge is to what amounts to an official agency policy that violates the APA.



2
 Circuits nationwide have followed Megapulse’s test for determining whether the Tucker Act impliedly
precludes district court jurisdiction. See Atterbury, 805 F.3d at 408; Robbins v. U.S. Bureau of Land Mgmt.,
438 F.3d 1074, 1083 (10th Cir. 2006); B&B Trucking, Inc. v. USPS, 406 F.3d 766, 768 (6th Cir. 2005); N.
Star Alaska v. United States, 14 F.3d 36, 37 (9th Cir. 1994).



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       Second, “the type of relief sought (or appropriate)” in this case differs from the relief

available from a Tucker Act claim. Megapulse, 672 F.2d at 968. Plaintiffs seek neither a money

judgment nor an injunction directing the Government to pay money. Instead, Plaintiffs seek

declaratory and injunctive relief returning the parties to the pre-existing status quo. The Supreme

Court has made clear this type of suit may proceed in district court, because it “is not a suit seeking

money in compensation for the damage sustained by the failure of the Federal Government to pay

as mandated; rather, it is a suit seeking to enforce the statutory [and regulatory] mandate itself.”

Bowen, 487 U.S. at 900. Simply because “a judicial remedy may require one party to pay money

to another” does not necessarily “characterize the relief as ‘money damages.’” Id. at 893. Likewise,

the fact that an injunction may later cause the Government to honor its obligation to make

payments does not strip this Court of jurisdiction. See Crowley, 38 F.4th at 1108 (“[E]ven if the

plaintiff filed the complaint with an eye to future monetary awards, a district court with otherwise

appropriate jurisdiction may hear the claim and grant the proper equitable relief.” (quotation

omitted)). Plaintiffs seek declaratory and injunctive relief declaring Defendants’ termination of

TQP, SEED, and TSL grants—and their placement on route pay—unlawful. (ECF No. 1, at 38).

That is nothing like an injunction to pay a specific sum. See Crowley, 38 F.4th at 1110-12;

Normandy Apartments, 554 F.3d at 1296-97.

       Finally, the Court should exercise jurisdiction because “the doubtful and limited relief

available in the Claims Court is not an adequate substitute for review in the District Court.” Bowen,

487 U.S. at 901. It is worth noting that not only did the Government not raise this issue earlier, the

Government’s Tucker Act arguments are irreconcilable with its affirmative venue arguments

raised in its Opposition and at the March 13 hearing. The Government spent considerable space in

its brief arguing that the “crush of litigation” ought not be lodged in a single court and that venue




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was proper in the District of Columbia or, more properly, throughout the country in individual

states where grant terminations occurred in the name of judicial economy and efficiency. ECF No.

24 at 13-16. Now the Government is of the view that each affected Grant Recipient should file

individual and separate Tucker Act claims. But because Tucker Act relief is retrospective and

monetary in nature, the Government seems to be suggesting that each affected Grant Recipient file

a separate lawsuit each time the Department refuses to reimburse allowable costs. Aside from the

staggering inefficiency this procedure would foist on the courts, it does not really get at the true

harm that Plaintiffs are seeking to remedy. Plaintiffs’ claims are not for the failure to reimburse

individual, liquidated costs, but rather the Department of Education’s wholesale policy of

indiscriminate and unlawful grant termination.

       Within the last month, the United States District Court for the District of Massachusetts

considered this issue and determined that it retained jurisdiction—twice. As one court explained,

in considering whether the Department had unlawfully terminated TQP and SEED grants:

       Defendants argue the waiver of sovereign immunity in the APA, 5 U.S.C § 702,
       does not extend to actions of contract which are within the exclusive jurisdiction of
       the Court of Federal Claims under the Tucker Act, 28 U.S.C. § 1491. Plaintiff States
       disagree, arguing waiver of sovereign immunity allows for suit in this Court.

       Very recently, another session in this District examined this precise issue in a
       substantially similar case to this one. Massachusetts v. Nat’l Institutes of Health,
       No. 25-cv-10338, 2025 WL 702163 (D. Mass. Mar. 5, 2025). In that case, in a
       thoughtful analysis, Judge Angel Kelley determined that the “essence” of the action
       was not contractual in nature since the source of the plaintiffs’ rights was in federal
       statute and regulations and because the relief was injunctive in nature. See id. at *8.
       I agree with, and adopt, Judge Kelley’s reasoning and conclusion. Here, similarly,
       Plaintiff States seek equitable relief in the form of reinstatement of the TQP and
       SEED grants. Plaintiff States also seek to enjoin Defendants from implementing,
       giving effect to, maintaining, or reinstating under a different name the termination
       of any previously awarded TQP and SEED grants. In other words, Plaintiff States
       seek to preserve the previous status quo to alleviate corresponding harm; they are
       not alleging claims for past pecuniary harms. Plaintiff States have also sufficiently
       shown that the dispute does not hinge on the terms of a contract between the parties,




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       but rather “federal statute and regulations put in place by Congress and the
       [Department].” See id. at *6. This Court retains jurisdiction.

California, 2025 WL 760825, at *1 (D. Mass. Mar. 10, 2025) (footnote omitted). Defendants do

not mention, let alone attempt to distinguish California, despite that Court’s rejection of an

identical argument in a case in which the Government was defending identical conduct by the

Department.

       Instead, the Government attempts to liken the grants at issue in this case to the government

contracts at issue in United States Conference of Catholic Bishops v. United States Department of

State, Civ. No. 1:25-cv-00465-TNM, 2025 WL 763738 (D.D.C. Mar. 11, 2025) (“USCCB”).

Unlike here, USCCB makes clear at the outset that the plaintiff in that case sought to enforce

contractual provisions. See USCCB, 2025 WL 763738, at *1 (“[Plaintiff] seeks an emergency

preliminary injunction preventing the Government from pausing or canceling contracts between

them. These contracts require the Government to fund the Conference’s provision of resettlement

services to refugees.”); see also id. at *2 (describing “cooperative agreements” between plaintiff

and the U.S. Department of State’s Bureau of Population, Refugees, and Migration as “contracts”

lasting a one year period). USCCB is distinguishable (if it is even correctly decided, given that the

USCCB plaintiffs sought prospective, not retrospective relief). Unlike California and NIH, USCCB

does not address grants at all. It is a case that deals straightforwardly with government contracts.

USCCB likewise does not turn on similar issues of administrative law, including the requirement

that the Department of Education engage in rulemaking to set priorities, which are critical to this

case. And the instant case is not one in which Plaintiffs seek to litigate damages that may arise

under a contract, but, as this Court correctly determined, it is premised on the Department’s

agency-wide policy to invidiously terminate grant funding in likely violation of the APA.




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       For the same reasons articulated in NIH and then California, Plaintiffs’ claim under the

APA “turns on federal statute and regulations put in place by Congress” and the Department.

Massachusetts, 2025 WL 702163, at *6. Plaintiffs’ claims likewise seek to “preserve ongoing and

prospective agreements” with the Department. Id. at *7. Because the nature of the relief Plaintiffs

seek is equitable—seeking to preserve the previous status quo prior to action by the Department

that this Court has already held is likely to violate the APA—this Court should retain jurisdiction.

       C.      The Government’s Argument Regarding Agency Discretion Does Not
               Warrant Reconsideration.

       The Government’s late-breaking argument regarding agency discretion fails for three

reasons. First, because the Government did not raise its argument regarding agency discretion

initially, it has waived its right to do so. See Schulman v. Axis Surplus Ins. Co., 90 F.4th 236, 245

(4th Cir. 2024) (“A party waives an argument by failing to present it in its opening brief or by

failing to develop its argument—even if its brief takes a passing shot at the issue.”).

       Second, there is no basis for reconsideration of the Court’s interlocutory order here. As this

Court has repeatedly held, while motions for reconsideration of interlocutory orders under Rule

54(b) are not explicitly governed by Rules 59(e) and 60(b), courts should look to these rules as

“guidance in consideration of [Rule 54(b)] motions.” Carrero v. Farrelly, 310 F. Supp. 3d 581,

584 (D. Md. 2018). As further explained in Carrero:

       Under Rule 59(e), a motion to amend a final judgment may be granted only “(1) to
       accommodate an intervening change in controlling law; (2) to account for new
       evidence not available at trial; or (3) to correct a clear error of law or prevent
       manifest injustice. And under Rule 60(b), a court may grant relief from a final
       judgment or order for the following reasons: “(1) mistake, inadvertence, surprise,
       or excusable neglect; (2) newly discovered evidence; (3) fraud or misconduct by
       the opposing party; (4) voidness; (5) satisfaction; or (6) any other reason that
       justifies relief. Although there may be many valid reasons to reconsider an order, a
       motion to reconsider is not a license to reargue the merits or present new evidence
       that was previously available to the movant.




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Id. (internal marks and citations omitted); Carlson v. Bos. Sci. Corp., 856 F.3d 320, 325 (4th Cir.

2017) (“Thus, a court may revise an interlocutory order under the same circumstances in which it

may depart from the law of the case: (1) ‘a subsequent trial produc[ing] substantially different

evidence’; (2) a change in applicable law; or (3) clear error causing ‘manifest injustice.’”).3 The

Government makes no attempt to show that any of the factors warranting reconsideration apply

here. At bottom, the Government is just seeking to amend its opposition brief retrospectively.

        And third, the Government’s argument regarding agency discretion is wrong, demonstrated

not least of all by the obvious and strict requirements set by GEPA, which evince a clear

congressional attempt to deprive the Department from exercising the “big picture” discretion the

Government has argued about from the start without notice and comment rulemaking.

Nevertheless, the Court should not reach the merits of an argument that was previously available

but not presented. See Cohens, 933 F. Supp. 2d at 742-43 (citing McLaurin v. E. Jordan Iron

Works, Inc., 666 F. Supp. 2d 590, 596 (E.D.N.C. 2009), aff’d sub nom. McLaurin v. Vulcan

Threaded Prods., Inc., 410 F. App’x 630 (4th Cir. 2011)) (“Moreover, “[i]n considering whether

to revise interlocutory decisions, district courts in this Circuit have looked to whether movants

presented new arguments or evidence, or whether the court has ‘obviously misapprehended a



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  See also Butler v. DirectSAT USA, LLC, 307 F.R.D. 445, 449 (D. Md. 2015) (“Although the standards
articulated in Rules 59(e) and 60(b) are not binding in an analysis of Rule 54(b) motions, [] courts frequently
look to these standards for guidance in considering such motions.”) (internal citation omitted); Cohens v.
Md. Dep’t of Human Res., 933 F. Supp. 2d 735, 741 (D. Md. 2013) (same); Matter of Vulcan Constr.
Materials, LLC, 433 F. Supp. 3d 816, 820 (E.D. Va. 2019) (in determining motions for reconsideration
under Rule 54(b), “the Court is ‘guided by the[ ] general principals’ of Rule 59(e)); Power Paragon, Inc.
v. Precision Tech. USA. Inc., No. 2:08-cv-222, Slip Op. at *2 (E.D. Va. Dec. 18, 2008) (applying the
following grounds to deny a motion for reconsideration under Rule 54(b): “(1) an intervening change in
controlling law, (2) the emergence of evidence not previously available, and (3) the correction of a clear
error of law or the prevention of manifest injustice.”); Evans v. Trinity Indus., 148 F. Supp. 3d 542, 544
(E.D. Va. 2015) (“Absent a significant change in the law or the facts since the original submission to the
court, granting a motion for reconsideration is only appropriate where, for example, the court has patently
misunderstood a party, or has made a decision outside the adversarial issues presented to the Court . . . , or
has made an error not of reasoning but of apprehension.”) (internal quotations omitted).


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party’s position or the facts or applicable law.’”) “Generally, ‘motions to reconsider are not

appropriate vehicles to advance . . . new legal theories not argued before the ruling.’” Id. (declining

to entertain Plaintiffs’ new arguments and denying motion to reconsider under Rule 54(b)); see

also United States v. Duke Energy Corp., 218 F.R.D. 468, 474 (M.D.N.C. 2003) (explaining that

“‘a party who fails to present his strongest case in the first instance generally has no right to raise

new theories or arguments in a motion to reconsider’” an interlocutory order.). The Government’s

last minute effort to advance a new legal theory about agency action is not enough to warrant

reconsideration here, least of all on an emergency timeline of the Government’s own creation.

       If the Court is inclined to set aside the significant body of authority counseling against

considering this waived argument on the merits, Plaintiffs respectfully request that the Court

exercise its discretion to permit Plaintiffs to supplement this response with additional briefing on

the topic of agency discretion on a schedule that is comparable to that afforded the Government

following the filing of Plaintiffs’ motion; the grounds raised by the Government in support of their

need for emergency relief have already been found by this Court to be outweighed by the

irreparable harm to Plaintiffs resulting from the Department refusing to follow the law.

III.   CONCLUSION

       For the foregoing reasons, Plaintiffs respectfully request that the Court deny Defendants’

Emergency Motion for Reconsideration and award Plaintiffs any such additional relief that the

Court deems just and proper under the circumstances.




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Dated: March 19, 2025                    Respectfully Submitted,

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                                CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on this 19th day of March, 2025, Plaintiffs’ Response in

Opposition to Defendants’ Emergency Motion for Reconsideration was filed with the Clerk of

the Court by using the CM/ECF system. I certify that the following counsel of record are registered

as ECF filers and that they will be served by the CM/ECF system:

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